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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ALBANY DIVISION

UNITED STATES OF AMERICA                  :
                                          :   CRIMINAL NO. 1:14-CR-01 (WLS)
            v.                            :
                                          :
CHRISTOPHER WHITMAN                       :
                                          :

           UNITED STATES OF AMERICA’S MOTION FOR ISSUANCE OF A
               SECOND AMENDED FINAL ORDER OF FORFEITURE

            COMES NOW, the United States of America, by and through its attorney, the

   United States Attorney for the Middle District of Georgia, and respectfully submits its

   Motion for Issuance of a Second Amended Final Order of Forfeiture in the above-entitled

   case pursuant to Rule 36 of the Federal Rules of Civil Procedure to correct an error in the

   legal description of the property. In support the Government submits the following:

            On March 4, 2019, this Court entered a Final Order of Forfeiture in the above-

   entitled case. See Doc. 443. Included amongst the property subject to the Final Order of

   Forfeiture was a 2013 Ford F-150 Pick-up Truck, VIN 1FTFW1EF3DFA099678. However,

   that VIN was incorrect. The correct VIN for that vehicle is VIN 1FTFW1EF3DFA09967.

   Through this motion the Government is seeking an amended Final Order of Forfeiture to

   reflect the correct vehicle identification number.

            Respectfully submitted this 29th day of September 2020.

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              /s/ Xavier A. Cunningham
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